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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Actava TV, Inc., Master Call Communications, Inc.,
Master Call Corporation, and Rouslan Tsoutiev,                          18-CV-06626 (ALC) (KNF)

Plaintiffs,

                 -against-                                                      ORDER

Joint Stock Company “Channel One Russia Worldwide,”
Closed Joint Stock Company “CTC Network,” Closed
Joint Stock Company “New Channel”, Limited Liability
Company “Rain TV-Channel,” Closed Joint Stock
Company “TV DARIAL,” Limited Liability
Company “Comedy TV,” and Kartina Digital GmbH

Defendants.
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KEVIN NATHANIEL FOX, United States Magistrate Judge.

The President of the United States has declared a national emergency due to the spread of the
COVID-19 virus, and the Centers for Disease Control have noted that the best way to prevent
illness is to minimize person-to-person contact. In order to protect public health while promoting
the "just, speedy, and inexpensive determination of every action and proceeding," Fed. R. Civ. P.
1 and in further compliance with Local Civil Rule 30.2 and the Standing Orders recently issued by
Chief Judge McMahon;

In the event a party elects to conduct a deposition remotely during the national emergency, it is
hereby ORDERED:


    1. Remote Deposition

              a. At all depositions, the witness, counsel for the parties, the court reporter and

                 representatives of the parties may attend via Zoom, Skype, or another technology

                 that allows reasonably clear audio and video communication with the witness and

                 that allows video recording of the deposition.
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   b. Counsel shall advise chambers of the date and time of the deposition and, if a

      dispute arises during the deposition, shall immediately telephone chambers at

      (212) 805-6705 or other technological means with the court reporter on the line.

   c. If the witness will testify in a language other than English, counsel taking the

      deposition shall arrange for a court-certified interpreter.

   d. Pursuant to Rule 29 of the Federal Rules of Civil Procedure, the parties stipulate

      that the court reporter may take the deposition via remote means in a different

      jurisdiction than the witness provided that (a) the video communication depict

      both the deponent and counsel questioning the witness, and (b) the video

      recording shall depict the deponent.

   e. At least twelve (12) hours before the scheduled start of the deposition, counsel

      taking the deposition shall provide to opposing counsel the name and contact

      information of the court reporter taking the deposition.

   f. At least twelve (12) hours before the scheduled start of the deposition, counsel

      taking the deposition shall provide pre-marked copies of Exhibits to opposing

      counsel and the court reporter via email (compressed, if necessary) or FTP for

      identification purposes only.

   g. At least twenty-four (24) hours before the scheduled start of the deposition,

      counsel taking the deposition shall disclose to opposing counsel any audio-visual

      demonstrations intended to be used.

   h. At least twelve (12) hours before the scheduled start of the deposition, counsel

      taking the deposition shall provide meeting invitations or other login credentials

      to opposing counsel and the court reporter.




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      i. At least twelve (12) hours before the scheduled start of the deposition, counsel

          taking the deposition and opposing counsel shall disclose all persons attending the

          deposition in person and via remote means.

      j. The parties stipulate that the court reporter may administer the oath to the witness

          via Zoom, Skype or other videoconferencing technology.

      k. The deposition may be recorded by the means described in 1.a. Upon request of

          opposing counsel, counsel taking the deposition shall provide a copy of the video

          file of the deposition as soon as practicable.

      l. The failure of any technology, including the inability to commence or complete

          the deposition, shall not result in a waiver or any right by any party and counsel

          shall work to resolve any issues arising due to technological failures. If there is a

          technical delay of less than one (1) hour, counsel conducting the deposition may

          elect to add the lost time caused by the technical delay to scheduled end time. If

          there is a technical delay of more than one (1) hour, counsel conducting the

          deposition may elect to reschedule the remaining portion of the deposition to a

          later date.

2. Conduct of the Remote Deposition

      a. The parties stipulate to reserving, not waiving, their objections until the time of

          trial, except objections as to form.

      b. The parties stipulate that while on the record, they will only communicate with

          their witness via Zoom, Skype, or another technology that allows reasonably clear

          audio and video communication with the witness that can be heard by all counsel,

          court reporter, and the witness.




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       c. The witness shall not refer to any documents or materials during the deposition,

          except for exhibits shown to the witness by counsel. If the witness takes notes

          during the deposition, such notes shall be provided to counsel for all parties at the

          conclusion of the deposition.

3. Defendants’ Deposition of Plaintiffs

       a. Rouslan Tsoutiev shall appear for deposition via Zoom, with questioning limited

          to seven (7) hours over one day. Defendants reserve the right to seek additional

          time to depose Mr. Tsoutiev, if necessary. Mr. Tsoutiev will answer questions in

          his individual capacity and as a 30(b)(6) representative of Actava TV, Inc.,

          Master Call Communications, Inc., and Master Call Corporation, concerning the

          deposition notices of December 18, 2019;

       b. Irina Pliss shall appear for deposition via Zoom, with questioning limited to seven

          (7) hours over the course of one day, concerning the deposition notice of June 26,

          2020;

       c. Tatyana Zhevnerova shall appear for deposition via Zoom, with questioning

          limited to seven (7) hours over the course of one day, concerning the deposition

          notice of October 9, 2020;

       d. Andrey Makhotin shall appear for deposition via Zoom, with questioning limited

          to seven (7) hours over the course of one day, concerning the deposition notice of

          June 26, 2020;

       e. Plaintiffs shall produce responsive, non-privileged documents and tangible things

          at least seven (7) days prior to the date of the deposition.




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       f. Plaintiffs will supply Rouslan Tsoutiev and the other witnesses with any

          necessary technical equipment for the deposition (e.g, assuming the parties use

          Zoom, a laptop with a high-speed internet connection, a camera, a microphone,

          and a Zoom account).

       g. Each party or its counsel shall provide any necessary technical equipment for its

          own use and for the use of its counsel.

       h. Defendants shall make and bear the cost of all other arrangements for the

          deposition, including the court reporter.

4. Plaintiffs’ Deposition of Defendants

       a. Defendants’ 30(b)(6) representatives shall appear for deposition via Zoom, with

          questioning limited to five (5) hours over one day, concerning the deposition

          notices of April 30, 2020 and December 14, 2020. Plaintiffs reserve the right to

          seek an additional two (2) hours over one day, if necessary, with respect to the

          depositions of Channel One and Kartina’s 30(b)(6) representatives.

       b. Defendants shall produce responsive, non-privileged documents and tangible

          things at least seven (7) days prior to the date of the deposition;

       c. Plaintiffs’ depositions of Defendants shall begin at 8 a.m. Eastern Standard Time,

          in order to accommodate the seven- and eight-hour time zone difference with

          Germany and Russia, respectively, assuming Defendants’ representatives are

          located in Germany and Russia at the time of the depositions;

       d. Defendants will supply the 30(b)(6) witnesses with any necessary technical

          equipment for the deposition (e.g, assuming the parties use Zoom, a laptop with a

          high-speed internet connection, a camera, a microphone, and a Zoom account).




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          e. Each party or its counsel shall provide any necessary technical equipment for its

             own use and for the use of its counsel.

          f. Plaintiffs shall make and bear the cost of all other arrangements for the

             deposition, including the court reporter.

   5. Court Reporter

          a. Counsel taking the deposition shall provide a copy of this order to the court

             reporter at least twelve hours before the taking of the deposition.



IT IS SO ORDERED.

Dated this 17 day of December 2020

                                                   ____________________________
                                                   Hon. Kevin Nathaniel Fox, U.S.M.J.




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